Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 1of10 PagelD 3127

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA EX REL. § Civil Action No. 3:03-CV-1589
CYNTHIA I. FITZGERALD and STATE OF
TEXAS EX REL. CYNTHIA I.

FITZGERALD, .
Judge David C. Godbey

Plaintiffs,
VS.

NOVATION, L.L.C.; VHA, INC.; BECTON
DICKINSON AND COMPANY; and
HERITAGE BAG COMPANY,

Defendants.

OR 900 WOR 400 602 60D 400 000 400 600 G00 tO GOD

BECTON DICKINSON AND COMPANY’S MEMORANDUM OF
LAW IN OPPOSITION TO PLAINTIFF/RELATOR’S MOTION FOR
RECONSIDERATION AND CLARIFICATION

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 2of10 PagelD 3128

PRELIMINARY STATEMENT

The Court dismissed Fitzgerald’s claims under the Texas Medicaid Fraud
Prevention Act because the State failed to timely intervene in the action. Actual intervention by
the State -- not a notice of an anticipated intention to later make some decision -- was a necessary
prerequisite for Fitzgerald’s state law claims. The State’s failure to intervene in a timely manner
is incurable: there is no way that Fitzgerald can fix it now.

Unhappy with the Court’s dismissal of the state law claims, Fitzgerald asks that
the Court “clarify” that the Court’s decision was without prejudice. She wants that clarification,
so she says, in order to take that same state law claim into a Texas state court for a Texas state
court to interpret. Fitzgerald’s transparent attempts to circumvent this Court’s decision should be
denied for four reasons.

First, Fitzgerald’s state law claims are fundamentally infirm and, as such, are
properly dismissed with prejudice. As the Court pointed out in its September 17, 2008 Order,
over the course of several years the Court granted the State many extensions to decide whether to
intervene, but the State failed to do so. The State has had its chance to intervene and the State’s
time under the statute has run out. Because nothing can revive Fitzgerald’s state claims, the
claims should rightly be considered dismissed with prejudice.

Second, the 2007 Amendment to the Texas Medicaid Fraud Prevention Act does
not, as Fitzgerald suggests, revive her Texas state law claims. That amendment permits a relator
to proceed with an action without the State’s participation only for conduct occurring on or after
May 4, 2007. TEX. HUM. RES. CODE §§ 36.052, 36.104 (Vernon 2007). Because Fitzgerald has

alleged no conduct that occurred on or after May 4, 2007, she cannot avail herself of the

amended statute.

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 3o0f10 PagelD 3129

Third, Fitzgerald sought out this Court’s determination of her state court claims
when she filed in federal court. That the determination was not to her liking is not grounds for
re-filing in state court. Nor did that determination implicate any complex and novel state law
issues such that this Court need defer to a state court to decide.

Fourth, the state law claims Fitzgerald intends to file in state court will be futile
as they ate barred by res judicata and statute of limitations. This Court’s decision should bar any
attempt to relitigate the same claims in a different court. And the applicable statute of limitations
under Texas law is four years; Fitzgerald has alleged absolutely no conduct by BD dating from
2004 to 2008.

We respectfully request that the Court clarify that its dismissal of Fitzgerald’s
state law claims is with prejudice. Doing so appears to be the only way to stop Fitzgerald from
filing a futile and vexatious action in state court, an action that will only waste the state court’s
time and resources and burden the defendants with the additional costs of re-litigating claims this

Court rightly dismissed.

ARGUMENT

L Fitzgerald’s State Law Claims Are Infirm
And Are Rightly Dismissed With Prejudice

In order for Fitzgerald to bring a valid claim under the Texas Medicaid Fraud
Prevention Act (“TMFPA”), the State would have had to intervene on or before May 11, 2007 --
the date that the State’s last extension of time to intervene expired. See TEX. HUM. RES. CODE §§
36.102(c), 36.104(b) (Vernon 2001); State of Texas’ Notice of Non-Intervention dated May 15,
2007, at 1. The State failed to intervene before this deadline, and there is no way to cure that
failure. It is well established that dismissal with prejudice is appropriate when any attempt to

cure the defects in the claim would be futile. See Jones v. Greninger, 188 F.3d 322, 327 (Sth

2

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 4of10 PagelD 3130

Cir. 1999); Grant-Brooks v. WMC Mortgage Corp., 2003 WL 23119157, at **3, 8 (ND. Tex.
Dec. 9, 2003). Moreover, dismissal for the failure to state a claim “operates as an adjudication
on the merits absent the court’s specification to the contrary, and is therefore with prejudice.”
Williams v. Dallas County Comm'rs, 689 F.2d 1212, 1215 (Sth Cir. 1982).

The Court’s Order was clear that “Under Texas law, the state had two choices: to
intervene in. the action or to decline to intervene.” (Order at 17.) A “statement of interest” or
other notice by the State that it has not yet made a decision whether or not to intervene does not
qualify as intervention. As the Court explained, the State’s Notice of Non-Intervention dated
May 15, 2007 “certainly did not indicate an intent to intervene” and the Court “construed it as
notice that the state declined to intervene in this action.” (/d.)' The State had its chance and
failed to act. Nothing Fitzgerald does can tum back the clock to make any decision to intervene
by the State timely. Because there is no way to cure the defect in the claim, it should be
dismissed with prejudice. See, e.g., Gen. Guar. Ins. Co. v. Parkerson, 369 F.2d 821, 825 (Sth
Cir. 1966).

- Dismissal with prejudice is precisely how the Eastern District of Texas recently
treated a dismissal for failure to intervene under the TMFPA. See United States ex rel. Foster v.
Bristol-Myers Squibb Co., 2008 WL 4360697, **11, 24 (E.D. Tex. Sept. 24, 2008). In Foster,
the relator brought federal and state false claims act claims, including claims under the Texas
Medicaid Fraud Prevention Act, against Bristol Myers Squibb. Jd. Bristol Meyers moved to
dismiss the Texas state claims on the grounds that the claims were barred by the statute of

limitations and because the State had failed to intervene within the 60 days required under the

 

1

The State’s Second Statement of Interest submitted last week adds nothing to the discussion.
All that submission says is that the State has sti// not made a decision as to whether it would
pursue the allegations in Fitzgerald’s complaint. State of Texas’ Second Statement of
Interest, dated Oct. 17, 2008, at 1.

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page5of10 PagelD 3131

Texas law. Jd.at *11. The court determined that once the required 60 days had passed, the State
could no longer intervene and dismissed the Texas law claims with prejudice. Id. The result
here should be no different.

II. The 2007 Amendment To The Texas Medicaid
Prevention Act Does Not Apply To Fitzgerald’s Claims

Fitzgerald suggests that since the 2007 Amendment to the TMFPA removed the
state intervention requirement, she can now pursue a new action in state court under that
Amendment. However, the plain language of the 2007 Amendment precludes her from taking
advantage of the new statute: “[t]his Act applies only to conduct that occurs on or after the
effective date of this Act.” TEX. HUM. RES. CODE § 36.052 (Vernon 2007). Because all of the
conduct alleged in Fitzgerald’s complaint took place way before the May 4, 2007 effective date
of the 2007 Amendment, she cannot invoke this Amendment.

The 2007 Amendment is clear that conduct that occurred before May 4, 2007 “is
governed by the law in effect at the time the conduct occurred” and “that law is continued in
effect for that purpose.” Jd. See also United States ex rel. Ramadoss v. Caremark Inc. , 2008
WL 3978101, at *3 (W.D. Tex. Aug. 27, 2008) (rejecting relator’s attempt to apply an earlier
version of the TMFPA and holding that the “plain language of the statute is clear that the new
. . . provision was not to be applied retroactively.”). The Court has already decided which
version of the TMFPA governs: “the law in effect when Relator was terminated in February
1999 applies to this action.” (Order at 161.9.) Therefore, Fitzgerald is bound by the 1997

version of the TMFPA in effect at the time of the conduct she alleges -- and that law requires the

intervention of the State.

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 6 of 10 PagelD 3132

Ill.  Fitzgerald’s State Law Claims Were Properly Before This Court And This Court
Need Not Decline Supplemental Jurisdiction Over Those Claims

Fitzgerald asks that the Court finds the dismissal without prejudice so she can re-
file the state law claims in state court, and, so she hopes, argue to that court that the 60-day
intervention period started anew with the re-filing of her complaint. Fitzgerald sought this
Court’s supplemental jurisdiction on her state law claims when she original filed this action in
federal court. In so doing, Fitzgerald sought a determination on the merits of her state law
claims. The Court has ruled, but because Fitzgerald doesn’t like that ruling, she wants another
chance in a different court. Fitzgerald now claims that interpreting the TMFPA, and determining
whether filing a new complaint re-starts the State’s intervention period, raises issues of state law
that only a state court should decide. She is wrong on her interpretation of the TMFPA and
wrong that this Court must defer to a Texas state court.

Under 28 U.S.C. § 1367(a), this Court has supplemental jurisdiction over
Fitzgerald’s state law claims. Here, the values of judicial economy, convenience, fairness and
comity weigh in favor of this Court continuing to exercise supplemental jurisdiction. Dismissing
the state law claims without prejudice and providing Fitzgerald an avenue for relitigating the
state claims in state court would result in unnecessary additional litigation that would do nothing
more than sap the resources of the state court and defendants.

Moreover, Fitzgerald is wrong that re-filing her claims in state court will reset the
60-day clock for the State’s intervention. That deadline has long passed and cannot be revived
simply by re-filing the complaint in a new location. As the Court noted, the State must intervene
within 60 days of receiving “the petition and the material evidence and information.” Order at

16; see also § 36.102(c) (Vernon 2001). Here, the State received the petition under seal and the

material evidence and information relevant to that petition many years ago. The State has had

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 7of10 PagelD 3133

years to review Fitzgerald’s petition and the information material to it and to make its decision to
intervene and, after all that time, still has not made the decision to intervene.

Reading the TMFPA to allow a relator to restart the 60-day period by re-filing a
complaint renders the statute’s 60-day intervention requirement meaningless. That 60-day
period is one of three “important safeguards” the Texas legislature deliberately put into the
TMEFPA to prevent “frivolous or unsubstantiated lawsuits” and should be respected, not
eviscerated. S.B. 30, 75th Reg. Sess., House Research Org. Bill Analysis, May 21, 1997, at 10.
Nor is this 60-day period novel -- its federal counterpart, 31 U.S.C. § 3730(b){2), imposes an
almost identical rule on federal intervention in federal False Claims Act cases. The 60-day
period plays an important role: it provides the government time to evaluate the claims and
supporting evidence in order to make a decision on intervention, while balancing the need to
move the action forward without unnecessary delay. See S. REP. NO. 99-345, at 5289-90
(1986)?

Federal courts may decline supplemental jurisdiction over a state law claim where
the claim raises a novel or complex issue of state law. 28 U.S.C. § 1367(c)(1). That is not the
case here. There is nothing novel or complex about the TMFPA’s intervention requirement such
that a state court is the only court equipped to make a decision. As explained above, the
TMEFPA’s 60-day intervention provision is almost identical to the 60-day provision in the federal
False Claims Act. 31 U.S.C. § 3730(b)(2). And the Texas federal courts can and do interpret
and apply the TMFPA. See Ramadoss, 2008 WL 3978101, at *3; Foster, 2008 WL 4360697, at

*11,

 

2 Once that 60-day period has elapsed without intervention, the federal government can
intervene only upon a showing of good cause. 31 U.S.C. § 3730(c)(3).

6

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 8of10 PagelD 3134

In Foster, the Eastern District of Texas interpreted and applied the same
intervention requirement provision of the TMFPA that was applied in this case. Foster, 2008
WL 4360697, at *11. And in Ramadoss, the Western District of Texas District Court interpreted
the 2005 Amendment to the TMEFPA to determine whether that Amendment should be applied to
conduct that occurred while a previous version of the Act was in effect. Ramadoss, 2008 WL
3978101, at *3. Neither court found that the TMFPA presented questions so novel or so

complex as to suggest that the federal court decline supplemental jurisdiction.

IV. The State Law Claims Are Futile Because They Are Barred

Even if Fitzgerald is permitted to re-file her claims in state court, those claims
will be barred by res judicata and the statute of limitations.

It is well established that the preclusive effect of a prior federal court judgment is
determined by federal res judicata law. San Antonio Indep. Sch. Dist.,936 S.W. 2d 279, 281
(Tex. 1996); RecoverEdge L.P. v. Pentecost, 44 F.3d 1284, 1290 (5th Cir. 1995). Federal law
provides that res judicata shall bar a subsequent action when a prior action involving the same
parties and the same cause of action reached final judgment on the merits in a court of competent
jurisdiction. See, e.g., Ellis v. Amex Life Ins. Co.,211 F.3d 935, 937 (Sth Cir. 2000). Where, as
here, a dismissal was based on a time limitation, the dismissal is a decision on the merits for res
judicata purposes. Nilsen v. City of Moss Point, 701 F.2d 556, 562 (Sth Cir. 1983) (en banc).
There is no reason to put the parties through additional litigation on a claim that is so clearly
barred.

Fitzgerald’s TMFPA claims against BD are barred, and therefore futile, for yet

another reason: they are time-barred. The TMFPA is governed by Texas’s four-year residual

limitations period. See Foster, 2008 WL 4360697, at *11 (finding that TMFPA has no express

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 9of10 PagelD 3135

limitations period and applying four-year residual limitations period in Tex. Civ. Prac. & Rem.
- Code § 16.051). If Fitzgerald filed a new claim in state court now, all allegations concerning
conduct before 2004 would be barred. Her complaint alleges no conduct by BD after 1998 -- a

full six years before the statute of limitations period.

CONCLUSION
For the foregoing reasons, BD respectfully requests that the Court deny
Fitzgerald’s motion to reconsider the September 17, 2008 Order. Because the Court dismissed
the state law claims for failure to state a claim and re-filing would be futile, the Court should

confirm that its dismissal was with prejudice.
Dated: October 23,2008 Respectfully submitted,

PAUL, WEISS, RIFKIND, WHARTON &
GARRISON LLP

/s/ Jacqueline P. Rubin
Robert A. Atkins
Jacqueline P. Rubin
Hannah S. Sholl

1285 Avenue of the Americas
New York, New York 10019-6064
Phone: (212) 373-3000

Fax: (212) 757-3990

Email: ratkins@paulweiss.com

FULBRIGHT & JAWORSKI L.LP.
Jonathan B. Skidmore

2200 Ross Avenue, Suite 2800

Dalias, Texas 75201

Phone: (214) 855-8000

Fax: (214) 855-8200

Email: jskidmore@fulbright.com

Attorneys for Defendant Becton Dickinson
& Company, Inc.

 

 
Case 3:03-cv-01589-N Document 162 Filed 10/23/08 Page 10o0f10 PagelD 3136

CERTIFICATE OF SERVICE

 

I hereby certify that on this 23rd day of October, 2008, I electronically filed the foregoing
document with the clerk of court for the U.S. District Court, Northern District of Texas, using
the electronic case filing system of the court. The electronic case filing system sent a “Notice
of Electronic Filing” to the attorneys of record who have consented in writing to accept this
notice as service of this document by electronic means.

/s/ Jacqueline P. Rubin
Jacqueline P. Rubin

 

 
